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 4
     Attorney for: OSCAR CAMPOS-PADILLA
 5
                             IN THE UNITED STATES DISTRICT COURT
 6                         FOR THE EASTERN DISTRICT OF CALIFORNIA

 7   UNITED STATES OF AMERICA,           ) Case Nos. CR-S-07-248 WBS
                                         )
 8          Plaintiff,                   )
                                         )
 9     v.                                ) STIPULATION AND ORDER
                                         )
10   OSCAR CAMPOS-PADILLA,               )
                                         )
11          Defendant.                   )
          ______________________________ )
12

13            Defendant, OSCAR CAMPOS-PADILLA, by his counsel, Paul B. Meltzer, and United
14   States Attorney, Jason Hitt, stipulate and agree to the travel request by the defendant, Oscar
15
     Campos-Padilla, as set forth in the attached order to travel to Ontario, CA.
16

17
     Respectfully Submitted,
18

19   DATED: January ____, 2009                     By:

20                                                        PAUL B. MELTZER; Attorney for
                                                          Defendant, OSCAR CAMPOS-PADILLA
21

22

23
     DATED: January ____, 2009                     By:
24

25
                                                          JASON HITT; United States Attorney
26

27

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     SFI-579462v1
     Case 2:07-cr-00248-WBS-DB Document 371 Filed 01/22/09 Page 2 of 2


 1                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF CALIFORNIA
 2                                    SACRAMENTO DIVISION

 3
     UNITED STATES OF AMERICA,                    ) No. CASE NO. Cr.S-07-248-WBS-DAD
 4                                                )
                    Plaintiff,                    )
 5      vs.                                       ) ORDER
                                                  )
 6   OSCAR CAMPOS-PADILLA                         )
                                                  )
 7                  Defendant.                    )
                                                  )
 8

 9   GOOD CAUSE SHOWN,
10            IT IS HEREBY ORDERED that Defendant Oscar Campos-Padilla is allowed to travel to
11   Ontario, CA on Friday, January 23rd, 2009 at 10 A.M. and returning Sunday, January 25th, 2009
12
     arriving at his home no later than 10 P.M. Prior to leaving the Defendant shall provide a detailed
13
     travel itinerary to U.S. Pre-Trial Services Laura Weigel.
14

15
     SO ORDERED.
16

17
     Dated: 01/22/09
18
                                                          /s/ Gregory G. Hollows
19                                                         __________________________________
                                                          United States Magistrate Judge
20
     Campos-padilla.ord
21

22

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     SFI-579462v1                                     2
